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   8
   9
  10                           UNITED STATES DISTRICT COURT

  11          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

  12
  13 BEATBOX MUSIC, PTY, LTD.,                     Case No. 2:17-cv-6108-MWF (JPRx)
                                                   Assigned to the Hon. Michael W.
  14              Plaintiff,                       Fitzgerald
  15        vs.

  16 LABRADOR ENTERTAINMENT,                       JOINT STATUS REPORT (APRIL
     INC., DBA SPIDER CUES MUSIC                   8, 2019)
  17 LIBRARY, a California corporation,
  18            Defendants.                        Action Filed:      August 17, 2017
                                                   Cross-Claim Filed: November 21, 2017
  19 MICHAEL COHEN, an individual,                 Action Stayed:     April 10, 2018
  20          Cross-Complainant,
  21        vs.
  22 LABRADOR ENTERTAINMENT
     INC., D/B/A SPIDER CUES MUSIC
  23
     LIBRARY, a California Corporation,
  24            Cross-Defendant.
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                                 JOINT STATUS REPORT (APRIL 8, 2019)
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   1               Pursuant to the Court’s April 10, 2018 Order and its February 8, 2019 Order,
   2 the parties to this action, Plaintiff Beatbox Music Pty, Ltd., Defendant Labrador
   3 Entertainment, Inc. d/b/a Spider Cues Music Library and Noel Palmer Webb, and
   4 Defendant/Cross-Claimant Michael Cohen (collectively the “Parties”), hereby submit
   5 this Joint Report:
   6               Status Report
   7               The court recently ordered that the stay would continue on this matter “pending
   8 the completion of mediation.” (See February 8, 2019 Order, Document 69.). Prior to
   9 that Order, Labrador represented that parties in New Zealand were discussing whether
  10 a mediation would go forward, and that if so, one would take place within three
  11 months. (See Labrador Statement, Exhibit A, Document 69.)
  12               Labrador has represented that its counsel in New Zealand has informed
  13 Labrador as follows:
  14
                   No agreement to mediate has been entered into. The idea of a mediation has
  15               been floated informally between counsel for the defendants and some of the
                   third parties, but at the moment those parties appear to be awaiting the
  16
                   outcome of Eight Mile’s application for leave to appeal to the Supreme
  17               Court. That application is being heard on the afternoon of 2 May 2019 (NZ
                   time). It may be some weeks after that before a judgment is released.
  18
                   Given that the court’s previous decision to continue to stay the matter was
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       based on the hopes of a mediation taking place, and given that no such mediation has
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       taken place or even been agreed to, Beatbox and Cohen agree that the stay should be
  21
       lifted.
  22
                   Labrador represents that its position remains unchanged. Labrador argues that
  23
       the action before this court is duplicative of the New Zealand action, and cannot be
  24
       resolved absent resolution of the New Zealand matter.                   Labrador has further
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       represented that it “remains hopeful that an informal resolution can be reached in the
  26
       only forum where all parties are present: New Zealand.”
  27
                   Cohen and Beatbox take exception to Labrador’s position inasmuch as not all
  28
       1082068.2                                      -1-                Case No. 2:17-cv-6108-MWF (JPRx)
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   1 parties are in New Zealand, namely, Cohen, who is not participating in the New
   2 Zealand case and is not subject to the jurisdiction of the New Zealand court.
   3 Accordingly, Cohen and Beatbox argue that the resolution of the New Zealand Action
   4 is thus not determinative in the current matter. Labrador argues that all five upstream
   5 entities necessary to establish liability and damages are in the New Zealand action,
   6 along with Beatbox and Labrador, requiring resolution of that matter first.
   7
   8 DATED: April 8, 2019                 JACOBSON & ASSOCIATES
                                             Dan Jacobson
   9                                         Ronak Patel
  10
                                          By:        /s/Ronak Patel
  11                                                 Ronak Patel
                                          Attorneys for Defendant and Crossclaimant,
  12
                                          Michael Cohen
  13
  14 DATED: April 8, 2019                 BROWNE GEORGE ROSS LLP
  15                                         Guy C. Nicholson
                                             Carl Alan Roth
  16
  17                                      By:        /s/Carl Alan Roth
  18                                                 Carl Alan Roth
                                          Attorneys for Defendants
  19
                                          Labrador Entertainment, Inc. and
  20                                      Noel Palmer Webb
  21
       DATED: April 8, 2019               BLAISE & NITSCHKE, P.C.
  22
                                             Heather L. Blaise
  23
  24                                      By:        /s/Heather L. Blaise
  25                                                 Heather L. Blaise
                                          Attorneys for Plaintiff Beatbox Music, Pty, Ltd.
  26
  27
  28
       1082068.2                                -2-             Case No. 2:17-cv-6108-MWF (JPRx)
                                       JOINT STATUS REPORT
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                            CERTIFICATE OF SERVICE

    I hereby certify that on this 9th day of April, 2019, I electronically filed the
    foregoing JOINT STATUS REPORT (APRIL 8, 2019) with the Clerk of
    the Court using the CM/ECF system which will send notification of such filing to
    the following:
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                                            /s/ Lisa Y. Smith
                                            Lisa Y Smith
